        Case 3:20-cv-00531-RDM Document 12 Filed 04/28/22 Page 1 of 4




                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRIAN O'BOYLE,

                      Plaintiff,
       v.                                           3:20-CV-531
                                                    (JUDGE MARIANI)
THE CMI GROUP

                      Defendant.

                                            ORDER

       The background of this Order is as follows :

       On April 1, 2020, Defendant The CMI Group removed the above-captioned action

from the Court of Common Pleas of Lackawanna County (Doc. 1).

       On October 27, 2020, this Court issued an Order noting the passing of Plaintiff's

counsel , Joseph Sucec, on April 27, 2020. (Doc. 10). As a resu lt of counsel 's death, the

Court stated :

       In the six-months since his counsel's passing, Plaintiff has not attempted to
       communicate with this Court in any way to ensure that his case will continue,
       the record does not reflect that any other attorney has entered an appearance
       on behalf of Plaintiff, and there is no address of record , either on the docket or
       in the documents filed , setting forth an address for Plaintiff. This Court is thus
       unable to ascertain the intentions of Plaintiff O'Boyle as to whether he wishes
       to proceed with the case, and if so, whether he has, or will , obtain new counsel ,
       or intends to proceed pro se. Therefore, because Plaintiff's Complaint does
       not provide Brian O'Boyle's address and this Court has no means of providing
       notice to Plaintiff of the posture of this case, Defendant CMI Group will be
       directed to provide this Court with the address of Plaintiff O'Boyle to the extent
       that it has that information.
        Case 3:20-cv-00531-RDM Document 12 Filed 04/28/22 Page 2 of 4




(Id. ). Counsel for Defendant responded to the Court's Order, stating that it "has no

information respecting Plaintiff's current address." (Doc. 11 ).

       As of the date of this Order, no further documents have been filed of record. Two

years have passed since the death of Plaintiff's counsel, and no counsel has entered an

appearance on behalf of Mr. O'Boyle, nor has Mr. O'Boyle attempted to communicate with

the Court in any way, including by filing documents of record , mailing documents to the

Court, or telephonically contacting the Court to determine the status of his case. In light of

the absence of any contact information for Mr. O'Boyle, the Court remains unable to

communicate with Mr. O'Boyle.

       Pursuant to Federal Rule of Civil Procedure 41 , an action may be dismissed "[i]f the

plaintiff fails to prosecute or to comply with these rules or a court order." Fed. R. Civ. P.

41 (b) . See Spain v. Gallegos, 26 F.3d 439, 454 (3d Cir. 1994) (recognizing that a district

court may sua sponte dismiss an action for failure to prosecute) ; Iseley v. Bitner, 216

F.App'x 252, 254-255 (3d Cir. 2007) ("A District Court has the authority to dismiss a suit sua

sponte for failure to prosecute by virtue of its inherent powers and pursuant to Federal Rule

of Civil Procedure 41 (b)") (citing Link v. Wabash R.R. Co., 370 U.S. 626, 630-631 (1962)).

See a/so, Briscoe v. Klaus, 538 F.3d 252, 258 (3d Cir. 2008) ("[w]hile a District Court may

dismiss a case sua sponte, .. . it should use caution in doing so because it may not have

acquired knowledge of the facts it needs to make an informed decision.") (internal citation

omitted).


                                                2
         Case 3:20-cv-00531-RDM Document 12 Filed 04/28/22 Page 3 of 4




       Prior to dismissing an action for failure to prosecute, a Court generally must weigh

the factors set forth by the Third Circuit in Pou/is v. State Farm Fire & Casualty Company.

Specifically,

       (1) the extent of the party's personal responsibility; (2) the prejudice to the
       adversary caused by the failure to meet scheduling orders and respond to
       discovery; (3) a history of dilatoriness; (4) whether the conduct of the party or
       the attorney was willful or in bad faith; (5) the effectiveness of sanctions other
       than dismissal, which entails an analysis of alternative sanctions; and (6) the
       meritoriousness of the claim or defense.

Pou/is v. State Farm Fire & Gas. Co., 747 F.2d 863, 868 (3d Cir.1984). "Not all of these

factors need be met for a district court to find dismissal is warranted." Hicks v. Feeney, 850

F.2d 152, 156 (3d Cir. 1988). Instead, the "factors should be weighed by the district courts

in order to assure that the 'extreme' sanction of dismissal .. . is reserved for the instances in

which it is justly merited ." Pou/is, 747 F.2d at 870.

       Here, the Court finds that the Pou/is factors weigh in favor of dismissal of this action.

As previously noted, Plaintiff's counsel passed away two years ago, and Plaintiff has not

filed any documents of record since that time or otherwise attempted to communicate with

the Court. Nor has another attorney entered an appearance on behalf of Plaintiff. This

delay is highly prejudicial to the Defendant, in that Plaintiff's failure to communicate with the

Court or file anything on the docket has caused this case to languish for over two years

without the ability to move the case any closer to completion. Furthermore, the Court can

only conclude that this conduct was "willful ," in that it has lasted for an extended period of

time, and no effort has been made by Plaintiff to contact the Court or to take any action to

                                                3
         Case 3:20-cv-00531-RDM Document 12 Filed 04/28/22 Page 4 of 4




advance this case. In addition, because the Court will dismiss this action without prejudice,

and since the Court has no way to contact Plaintiff, alternative sanctions, such as monetary

sanctions, would not be effective in this case. The Court finds that the sixth Pou/is factor,

meritoriousness of the claim, is neutral. Finally, although this Court recognizes that a

"District Court should provide the plaintiff with an opportunity to explain his reasons for

failing to prosecute the case or comply with its orders prior to dismissing a case sua

sponte," Briscoe, 538 F.3d at 258, this Court is unable to do so. The record is devoid of any

contact information for Plaintiff and the Court lacks any way to contact Plaintiff or means to

provide him with notice of the posture of this case or an opportunity to explain why he has

failed to take any action in this case for two years.

       For these reasons, dismissal of this action without prejudice pursuant to Rule 41 (b)

1s proper.                                 ~

       ACCORDINGLY, THIS           ~         ~ AY OF APRIL, 2022, IT IS HEREBY

ORDERED THAT:

   1. The above-captioned action is DISMISSED WITHOUT PREJUCIDE for failure to

       prosecute this action.

   2. The Clerk of Court is directed to CLOSE this action.__       --.!




                                                        Ro
                                                        United S          t Judge


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